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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                     )
                                             )
         v.                                  )      CRIMINAL NO. 21-CR-223 (APM)
                                             )
                                             )
MATT WOOD                                    )

                                     NOTICE OF FILING

         The Defendant, MATT WOOD, by and through his counsel, Kira Anne West, hereby gives

notice of filing the defendant’s letter of apology as referenced in the defendant’s sentence memo.


                                             Respectfully submitted,

                                             KIRA ANNE WEST

                                      By:             /s/
                                             Kira Anne West
                                             DC Bar No. 993523
                                             712 H Street N.E., Unit 509
                                             Washington, D.C. 20002
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                                             kiraannewest@gmail.com


                                  CERTIFICATE OF SERVICE

         I hereby certify on the 8th day of November, 2022 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                         /S/
                                                    Kira Anne West
